
19 N.Y.2d 649 (1967)
The People of the State of New York, Respondent,
v.
Jerry La Barth, Appellant.
Court of Appeals of the State of New York.
Argued January 18, 1967.
Decided February 14, 1967.
John M. Armentano for appellant.
William Cahn, District Attorney (Henry P. DeVine of counsel), for respondent.
Concur: Chief Judge FULD and Judges VAN VOORHIS, BURKE, SCILEPPI, BERGAN, KEATING and BREITEL.
Judgment affirmed. Defendant's plea of guilt effected a waiver of points raised by him (People v. Nicholson, 11 N Y 2d 1067). We do not reach the question whether it was error to deny the application to inspect his confession. No opinion.
